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January 20, 2025

VIA ECF

Hon. Beryl A. Howell
United States District Court
District of Columbia
333 Constitution Avenue N.W.
Washington D.C. 20001

Re:    Freeman et al. v. Giuliani, No. 23-cv-3754 (BAH)

Dear Judge Howell:

        Plaintiffs Ruby Freeman and Wandrea’ Moss respectfully submit this letter to inform the Court
that Plaintiffs and Defendant Rudolph W. Giuliani have executed a settlement agreement (“Agreement”)
that, once certain conditions are met, would result in the conclusion of all litigation currently pending
between and among the Parties. See Freeman et al. v. Giuliani, No. 24-mc-353 (LJL), ECF No. 242
(S.D.N.Y. Jan. 16, 2025); Freeman et al. v. Giuliani, No. 24-cv-6563 (LJL), ECF No. 214 (S.D.N.Y.
Jan. 16, 2025). 1

       In light of the Agreement, Plaintiffs do not intend to seek attorneys’ fees and costs in accordance
with the Court’s Conditional Order entered on January 10, 2025. See Freeman et al. v. Giuliani, 23-cv-
03754 (BAH), ECF No. 41 (D.D.C. Jan. 10, 2025).

                                                      Respectfully submitted,

                                                      By: /s/ Michael J. Gottlieb
                                                      Michael J. Gottlieb (974960)
                                                      WILLKIE FARR & GALLAGHER LLP
                                                      1875 K Street NW
                                                      Washington, DC 20006
                                                      Tel: (202) 303-1000
                                                      mgottlieb@willkie.com


                                                      Counsel for Plaintiffs




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 Attached as Exhibit A is a true and correct copy of the Joint Letter for Adjournment, filed by Plaintiffs,
Defendant, and Intervenor Andrew Giuliani on January 16, 2024 in the case dockets Freeman et al. v.
Giuliani, No. 24-mc-353 (LJL) (S.D.N.Y.) and Freeman et al v. Giuliani, No. 24-cv-6563 (LJL)
(S.D.N.Y.).
